       Case 21-10635-JAD           Doc 38      Filed 04/13/23 Entered 04/13/23 14:33:04                 Desc Main
                                               Document Page 1 of 2
                                     UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF PENNSYLVANIA

IN RE:
   RACHAEL L. WILLIOT
                                                                  Case No. 21-10635JAD

                  Debtor(s)                                       Chapter 13

    Ronda J. Winnecour                                            Document No.___

                  Movant
            vs.

    PENNYMAC LOAN SERVICES LLC
                  Respondent(s)

                                      INTERIM NOTICE OF CURE OF ARREARS

        Chapter 13 Trustee Ronda J. Winnecour gives notice to the holder(s) of claims secured by a security interest in
the debtor’s principal residence, i.e. the Respondent(s) named above, that the amount required to cure the prepetition
default has been paid in full. This notice does not replace the notice required by Bankruptcy Rule 300 2.1(f), which will be
filed and served by the Trustee after the debtors have completed all payments required under the plan .
        The holders of a claim secured by a security interest in the debtor’s principal residence are requested to notify the
debtor, debtor’s counsel and the Trustee if the creditor does not agree that the debtor has paid in full the amount required
to cure the prepetition default on the claim. The statement should itemize the required cure, excluding postpetition
amounts due, if any, that the holder contends remain unpaid as of the date of the statement .




Trustee Record Number - 18
Court Claim Number - 7
                                                              /s/ Ronda J. Winnecour
    4/13/2023                                                 RONDA J WINNECOUR PA ID #30399
                                                              CHAPTER 13 TRUSTEE WD PA
                                                              600 GRANT STREET
                                                              SUITE 3250 US STEEL TWR
                                                              PITTSBURGH, PA 15219
                                                              (412) 471-5566
                                                              cmecf@chapter13trusteewdpa.com
       Case 21-10635-JAD           Doc 38    Filed 04/13/23 Entered 04/13/23 14:33:04               Desc Main
                                             Document Page 2 of 2

                                    UNITED STATES BANKRUPTCY COURT
                                    WESTERN DISTRICT OF PENNSYLVANIA
IN RE:
   RACHAEL L. WILLIOT

                                                                Case No.:21-10635JAD
                   Debtor(s)
                                                                Chapter 13
    Ronda J. Winnecour
                                                                Document No.___
                   Movant
             vs.

    PENNYMAC LOAN SERVICES LLC

                   Respondent(s)

                                        CERTIFICATE OF SERVICE

        I hereby certify that on the date shown below, I served a true and correct copy of Interim Notice of Cure
of Arrears upon the following, by regular United States mail, postage prepaid, addressed as follows:

 RACHAEL L. WILLIOT, 655 SOUTH 9TH STREET, SHARPSVILLE, PA 16150
  LAUREN M LAMB ESQ, STEIDL & STEINBERG, 707 GRANT ST 28TH FLOOR, PITTSBURGH, PA
 15219
 PENNYMAC LOAN SERVICES LLC, PO BOX 660929, DALLAS, TX 75266-0929
 PENNY MAC LOAN SERVICES LLC, PO BOX 2410, MOORPARK, CA 93020
  KML LAW GROUP PC*, 701 MARKET ST STE 5000, PHILADELPHIA, PA 19106



04/13/2023                                                  /s/ Roberta Saunier
                                                            Administrative Assistant
                                                            Office of the Chapter 13 Trustee
                                                            CHAPTER 13 TRUSTEE WD PA
                                                            600 GRANT STREET
                                                            SUITE 3250 US STEEL TWR
                                                            PITTSBURGH, PA 15219
                                                            (412) 471-5566
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